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 1                         UNITED STATES DISTRICT COURT

 2                        CENTRAL DISTRICT OF CALIFORNIA

 3                 HONORABLE DAVID O. CARTER, JUDGE PRESIDING

 4                                    CERTIFIED TRANSCRIPT
 5                                 - - - - - - -

 6   UNITED STATES OF AMERICA,        )
                                      )
 7             PLAINTIFF(S),          )
                                      )
 8         VS.                        ) NO. LA CV 13-0779-DOC
                                      )     VOL. 2
 9   MCGRAW-HILL COMPANIES, INC., ET )
     AL,                              )
10                                    )
               DEFENDANT(S).          )
11   _________________________________)

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14

15                    REPORTER'S TRANSCRIPT OF PROCEEDINGS

16                                MOTION TO COMPEL

17                             SANTA ANA, CALIFORNIA

18                         TUESDAY, SEPTEMBER 09, 2014

19

20

21                        MARIA BEESLEY, CSR, RPR, RMR
                            OFFICIAL FEDERAL REPORTER
22                 RONALD REAGAN FEDERAL BUILDING, ROOM 1-053
                               411 WEST 4TH STREET
23                         SANTA ANA, CALIFORNIA 92701
                                (714) 564-9259
24

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 1   APPEARANCES OF COUNSEL:

 2   FOR THE PLAINTIFF:      ANDRÉ BIROTTE, JR.
                             UNITED STATES ATTORNEY
 3                           BY:    GEORGE CARDONA,
                                    ANOIEL KHORSHID,
 4                           ASSISTANT UNITED STATES ATTORNEY
                             411 W. 4TH STREET, 8TH FLOOR
 5                           SANTA ANA, CALIFORNIA 92701

 6

 7   FOR THE PLAINTIFF:       U.S. DEPARTMENT OF JUSTICE
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 8                            P.O. BOX 386
                              WASHINGTON DC 20044
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11   FOR THE DEFENDANT(S): KELLER RACKAUCKAS
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     FOR THE DEFENDANT(S): KEKER AND VAN NEST LLP
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                              AND PAVEN MALHOTRA, ESQ.
16                            710 SANSOME STREET
                              SAN FRANCISCO, CALIFORNIA 94111
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19   FOR THE DEFENDANT(S): KEKER AND VAN NEST LLP
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     FOR THE DEFENDANT(S): CAHILL GORDON & REINDEL
23                            BY:    FLOYD ABRAMS, ESQ.
                              AND    BRIAN MARKLEY, ESQ.
24                                   JEFFREY LOPERFIDO, ESQ.
                              80 PINE STREET
25                            NEW YORK NEW YORK 10005
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 1

 2   FOR THE OBJECTOR: DEBEVOISE & PLIMPTON LLP
                          BY:   NICHOLAS C. TOMPKINS, ESQ.
 3                         919 THIRD AVENUE
                           NEW YORK, NEW YORK 10022
 4                         (212)606-6949

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         1              SANTA ANA, CALIFORNIA, TUESDAY, SEPTEMBER 09, 2014

         2                                     VOL. 2

         3                                     (9:55)

09:55    4               THE COURT:    COUNSEL, I WANT TO THANK BOTH OF YOU FOR

         5   YOUR COURTESY FOR WAITING FOR THE COURT.

10:51    6               MR. ABRAMS:    I JUST HAVE TWO OBSERVATIONS, YOUR HONOR,

         7   WITH RESPECT TO MR. GEITHNER.       ONE IS THAT IN TWO INSTANCES, AS WE

         8   POINT OUT IN FOOTNOTE 12, PAGE 14 TO OUR REPLY BRIEF, THEY HAVE

         9   LITERALLY TAKEN OUT A WORD IN THE MIDST OF DISCUSSING STANDARD AND

        10   POOR'S.    I MEAN, THERE IS NO AMBIGUITY.      THEY SIMPLY REDACTED OUT

        11   OF HAND.    I'D BE GLAD TO READ IT TO THE COURT, BUT I THINK SUFFICE

        12   TO SAY THAT THEY BOTH APPEAR TO BE SCATOLOGICAL IN NATURE.           ONE

        13   DIRECTLY AIMED AT S&P AND THE OTHER COMMENTING CAUSTICALLY ABOUT

        14   THE DOWNGRADE.

10:52 15                 THERE JUST IS NO -- NO ONE CAN ARGUE, AND I'M CONFIDENT

        16   THAT MR. GEITHNER'S COUNSEL WOULD NOT ARGUE THAT THESE DELETIONS

        17   ARE IRRELEVANT OR NONRESPONSIVE.

10:53 18                 NUMBER TWO, WE COULD DEAL WITH THIS IN THE IN-CAMERA

        19   SESSION, YOUR HONOR.      BUT I JUST WANT TO POINT OUT THAT AS REGARDS

        20   MR. GEITHNER, THERE ARE SITUATIONS WHERE WE HAVE HALF SENTENCES.

        21   WE CITE ONE IN OUR MAIN BRIEF WHERE HE SIMPLY PUTS IN PART OF A

        22   SENTENCE SAYING, "SO WE HAD THE DOWNGRADE."         AND THEY SAY, AND I

        23   HAVE NO REASON TO DOUBT THEM, THAT THE FIRST PART OF THE SENTENCE

        24   WASN'T DIRECTLY PERHAPS ABOUT THE DOWNGRADE.         BUT IT SEEMS TO ME

        25   THAT ANYTHING AS CLEARLY ABOUT THE DOWNGRADE AS THAT, WE'RE


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         1   ENTITLED TO SOME LEVEL OF CONTEXT TO KNOW WHAT HE IS TALKING

         2   ABOUT; WHAT IS HE COMPARING IT TO; WHAT'S THE "SO" ABOUT.

10:54    3                AS REGARDS WHAT MR. CARDONA HAD TO SAY, I REALLY WANT TO

         4   MAKE CLEAR ALL WE'RE ASKING NOW -- BECAUSE WE ALSO BELIEVE IN

         5   TAKING AN INCREMENTAL APPROACH TO THIS -- ALL WE'RE ASKING NOW IS

         6   FOR DOCUMENTS AS TO WHICH THEY ARE NOT CLAIMING EXECUTIVE

         7   PRIVILEGE.     WE DO NOT -- WE'RE NOT SEEKING, A, ANYTHING FROM THE

         8   EXECUTIVE OFFICE OF THE PRESIDENT, NOR ARE WE SEEKING ANYTHING

         9   THAT THE GOVERNMENT AT THIS POINT SAYS IS SUBJECT TO PRIVILEGE.

10:54 10                  WE ARE NOT TALKING ABOUT OVERCOMING A PRIVILEGE.        WE ARE

        11   SIMPLY SAYING THAT AS A MATTER OF FAIRNESS AND AS A MATTER OF FULL

        12   DISCLOSURE TO US, THAT TO THE EXTENT THAT THERE ARE DOCUMENTS

        13   WHICH REPOSE NOW IN THE DEPARTMENT OF JUSTICE OR THE DEPARTMENT OF

        14   TREASURY WHICH WENT TO OR FROM THE EXECUTIVE OFFICE OF THE

        15   PRESIDENT AND WHICH ARE RESPONSIVE AND NOT PRIVILEGED, THAT WE

        16   SHOULD HAVE THEM.

10:55 17                  WE ARE WELL AWARE OF THE NEED FOR THE GREATEST

        18   DISCRETION THE CLOSER ONE COMES TO SEEKING DOCUMENTS FROM THE

        19   EXECUTIVE OFFICE OF THE PRESIDENT.       AND WE'RE WELL AWARE THAT

        20   THERE IS A PRETTY HEAVY BURDEN ON US TO OVERCOME CLAIMS OF

        21   PRIVILEGE WHEN THEY ARE MADE.       BUT AT THIS POINT WE'RE SIMPLY

        22   SAYING, IF YOU HAVE IN YOUR FILES -- YOU, COUNSEL, REPRESENTING

        23   DOT AND THE DEPARTMENT OF JUSTICE -- IF YOU HAVE MATERIALS THERE

        24   WHICH ARE NOT PRIVILEGED AS TO WHICH YOU ARE NOT GOING TO CLAIM A

        25   PRESIDENTIAL LEVEL PRIVILEGE AND THEY ARE RESPONSIVE, WE SHOULD


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         1   HAVE THEM.     AND IF THEY'RE NOT SURE OF CERTAIN MATTERS, THEY CAN

         2   PUT THAT ON THE SIDE OF POTENTIAL PRIVILEGE.

10:56    3                BUT THERE IS AT LEAST ENOUGH OF A CHANCE OR AT LEAST

         4   ENOUGH OF A POSSIBILITY THAT THERE ARE MATERIALS WHICH ALL WOULD

         5   AGREE, ALL WOULD AGREE ARE NOT PRIVILEGED, BUT ARE RESPONSIVE, AND

         6   WE THINK THEY SHOULD LOOK FOR THEM AND THEY SHOULD TURN THEM OVER

         7   TO US.   THANK YOU, YOUR HONOR.

10:56    8                THE COURT:   THANK YOU, COUNSEL.

10:56    9                MR. TOMPKINS:   THANK YOU, YOUR HONOR.     I'LL BE BRIEF.

10:56 10                  THE COURT PERMITTED DISCOVERY OF MR. GEITHNER IN THE

        11   FIRST PLACE IN ORDER TO PERMIT S&P TO TEST ITS RETALIATION THEORY.

        12   MR. GEITHNER HAS PRODUCED DOCUMENTS THAT ARE RESPONSIVE TO THEIR

        13   REQUESTS.     AND S&P'S RIGHT TO EVERY MAN'S EVIDENCE DOESN'T EXTEND

        14   TO OTHER TOPICS THAT MAY OR MAY NOT BE IN MR. GEITHNER'S BOOK

        15   MATERIAL THAT AREN'T REASONABLY CALCULATED TO LEAD TO THE

        16   DISCOVERY OF ADMISSIBLE EVIDENCE ON THAT POINT.         THAT'S OUR

        17   FUNDAMENTAL ARGUMENT.

10:57 18                  I WOULD LIKE TO RESPOND JUST VERY BRIEFLY TO WHAT

        19   MR. ABRAMS RAISED IN THE FOOTNOTE OF THEIR REPLY BRIEF WHICH HAS

        20   TO DO WITH THE REDACTION OF INDIVIDUAL GROUPS FROM A DISCUSSION

        21   THAT MR. GEITHNER AND OTHERS WERE HAVING.

10:57 22                  I HAD A DISCUSSION WITH ONE OF MR. ABRAMS' PARTNERS

        23   WITHIN A DAY OR TWO DAYS AFTER WE PRODUCED THOSE DOCUMENTS TO

        24   EXPLAIN THE NATURE OF THOSE REDACTIONS, THE NATURE OF THE

        25   LANGUAGE, AND WHY WE HAD REDACTED IT.        AND THAT HAD TO DO IN GREAT


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         1   PART WITH THE FACT THAT ALTHOUGH THERE IS A PROTECTIVE ORDER IN

         2   PLACE IN THIS CASE, MR. GEITHNER HAD MATERIAL THAT WAS SUBJECT TO

         3   A CONFIDENTIALITY ORDER THAT WAS LEAKED JUST WEEKS BEFORE TO THE

         4   NATIONAL NEWS MEDIA.

10:58    5              AS I EXPLAINED TO MR. ABRAMS' PARTNER, WE HAD REDACTED

         6   JUST INDIVIDUAL WORDS JUST IN CASE SOMETHING SIMILAR WERE TO

         7   HAPPEN THROUGH WHATEVER MEANS HERE; THAT I EXPLAINED THE NATURE OF

         8   THE LANGUAGE TO HIM.     SO I JUST WANT TO ADDRESS THE SUGGESTION OR

         9   THE IMPLICATION THAT WE WERE TRYING TO HIDE THE BALL THERE.

10:58 10                AND LAST OF ALL, TO THE EXTENT THAT YOUR HONOR, AFTER

        11   FURTHER IN-CAMERA REVIEW, DECIDES TO CALL FOR FURTHER PRODUCTIONS

        12   OR CUTS BACK ON THE REDACTIONS IN MR. GEITHNER'S MATERIAL, I JUST

        13   WANTED TO ADDRESS AN ARGUMENT THAT I THINK WAS A FOOTNOTE IN BOTH

        14   OUR OPPOSITION AND S&P'S REPLY BRIEF WHICH HAS TO DO WITH THE

        15   POSSIBLE NATURE OF PRIVILEGED MATERIAL.

10:58 16                AND THIS IS PRIVILEGED MATERIAL THAT WOULD ACTUALLY

        17   BELONG TO THE UNITED STATES.      AND SO THERE MAY BE CERTAIN PASSAGES

        18   IN THESE DOCUMENTS THAT ARE CURRENTLY REDACTED, AND SO WE HADN'T

        19   LOGGED BECAUSE WE HADN'T PRODUCED THEM OR HELD THEM BACK ON THE

        20   BASIS OF PRIVILEGE THAT HAD TO DO WITH DELIBERATIVE PROCESS

        21   PRIVILEGE OR EXECUTIVE COMMUNICATIONS PRIVILEGE.

10:59 22                NOW, THAT'S NOT A PRIVILEGE THAT WE CAN ASSERT, THAT

        23   MR. GEITHNER CAN ASSERT.      THAT'S AN INSTITUTIONAL PRIVILEGE ON THE

        24   UNITED STATES' BEHALF.      SO TO THE EXTENT THAT COURT SEES TO ORDER

        25   MR. GEITHNER TO CUT BACK ON HIS REDACTIONS, I JUST WANTED TO FLAG


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         1   FOR THE COURT THAT THERE MAY BE SOME PRIVILEGED MATERIAL THAT

         2   WOULD NEED TO BE REVIEWED BY THE UNITED STATES TO PROTECT THEIR

         3   PRIVILEGES.

10:59    4              THE COURT:     OKAY.     THANK YOU.     ROUND THREE.

10:59    5              MR. CARDONA:     JUST ONE VERY QUICK FOLLOW-UP IN TERMS OF

         6   MR. ABRAMS' POSITION THAT WE SHOULD PRODUCE DOCUMENTS THAT CLEARLY

         7   ARE NOT PRIVILEGED, OF COURSE CHENEY ADDRESSED THAT.              AND PART OF

         8   THE UNDERLYING RATIONALE OF CHENEY IS THAT THE EXECUTIVE SHOULDN'T

         9   BE PUT IN A POSITION OF HAVING TO REVIEW EVERYTHING AND MAKE THOSE

        10   DETERMINATIONS AT A PRELIMINARY STAGE.            SO WITH THAT...

11:00 11                THE COURT:     THIS IS ROUND THREE, SO MR. CARDONA SPOKE.

11:00 12                MR. ABRAMS?

11:00 13                MR. ABRAMS:     I PASS.

11:00 14                THE COURT:     NEVER GIVE UP AN OPPORTUNITY.

11:00 15                COUNSEL?     MR. TOMPKINS?     OKAY.

11:00 16                WELL, I DON'T THINK I HAVE ANY FURTHER COMMENTS RIGHT

        17   NOW.   I WANT TO TAKE A RECESS IN A FEW MOMENTS, BUT I'D LIKE TO

        18   START INTO THE DISCOVERY.         BUT ONE OF THE THINGS THAT'S GUIDING ME

        19   IS I DON'T WANT TO BE INVOLVED IN CONVERSATIONS WHEN I BELIEVE

        20   THAT THIS DEMANDS THE GREATEST AMOUNT OF TRANSPARENCY WITHIN THE

        21   RULES AND THEN GOING TO A SESSION IN THE BACK.

11:00 22                AND I THINK THAT THERE ARE A NUMBER OF CONSISTENT PEOPLE

        23   HERE WHO HAVE BEEN HERE FROM THE PRESS, AND I WOULD LIKE YOU TO

        24   RAISE YOUR HAND FOR A MOMENT.         YOU DON'T HAVE TO IDENTIFY

        25   YOURSELF, BUT THERE IS ONE GENTLEMAN WHO I HAVE CONSISTENTLY SEEN.


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         1   TWO, THE SECOND PERSON.      ANY OTHERS?    YOU HAVE BEEN HERE MOST OF

         2   THE TIME.     BECAUSE I THINK THAT THE CASE DEMANDS TRANSPARENCY WITH

         3   SO MANY AMERICANS INVOLVED.

11:01    4                SO WHEN I GO DOWN THIS LIST OF DEPOSITIONS IN A FEW

         5   MOMENTS, I WANT TO START WITH THE NUMBER AND THEN I WANT TO START

         6   WITH WHO YOU'RE DEPOSING FOR A MOMENT.        BECAUSE I THOUGHT I WAS

         7   GOING TO CUT BACK AND I GOT SOME SERIOUS RESERVATIONS NOW.           FIRST

         8   OF ALL, MY SPECIAL MASTERS, AS OF SATURDAY AND SUNDAY, BOTH

         9   INFORMED ME IN SEPARATE CONVERSATIONS THAT THEY HAVEN'T RECEIVED A

        10   LIST OF YOUR DEPOSITIONS FOR SEPTEMBER.        AND I'M EXPECTING ABOUT

        11   25 PER MONTH.     NOT JUST IN TERMS OF VOLUME, BUT QUALITY.

11:01 12                  THE SECOND CONCERN I HAVE IS I'M GOING TO GO DOWN YOUR

        13   DEPOSITIONS NAME BY NAME IN JUST A MOMENT.         I DON'T SEE ANY OF

        14   WHAT I CALL WHALES.     ONLY THE LAST TWO SEEM TO BE OF INCREASING

        15   SIGNIFICANCE.     I'M NOT SAYING THEY'RE ALL NOT SIGNIFICANT, BUT

        16   MR. SARGSYAN AND YOUR 33RD DEPONENT, ANDREW SMITH.

11:02 17                  THE SECOND THING IS I HAVEN'T DEMANDED LEAD COUNSEL BE

        18   PRESENT.     I KNOW YOU ARE BOTH MANAGING THE CASE EFFECTIVELY.

11:02 19                  AND I'M MOST WORRIED ABOUT YOU, MR. ABRAMS, MS. KELLER,

        20   AND MR. KEKER.     YOU HAVE, BY REPUTATION, OUTSTANDING FIRMS.        I

        21   THINK YOUR ASSOCIATES ARE PROBABLY DOING A TOP-FLIGHT JOB, BUT I'M

        22   WORRIED THAT YOU HAVE GOT THE PERSONAL RESOURCES, NOT THE

        23   MANAGEMENT SKILLS, TO KEEP PACE WITH MR. CARDONA AND HIS CREW, WHO

        24   SEEM TO HAVE DEVOTED EVERY LIVING, WAKING MOMENT TO THE CASE.             AND

        25   I WANT TO TALK TO YOU ABOUT THAT IN JUST A MOMENT, SEE WHERE YOU


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         1    ARE AT.

11:03    2                AND I THINK OUR CONVERSATION WILL READILY TELL ME

         3    BECAUSE I THINK, MS. KELLER, YOU HAVE ATTENDED TWO DEPOSITIONS.

11:03    4                I HAVEN'T DEMANDED, MR. ABRAMS, I HAVEN'T SEEN YOU OR

         5    HEARD YOU WERE AT ANY.

11:03    6                AND MR. KEKER, I HAVEN'T HEARD YOU WERE AT ANY YET.

11:03    7                SO MY CONVERSATION IS STRICTLY GOING TO BE WITH YOU, AND

         8    IF I SEE YOU ASSOCIATING WITH YOUR ASSOCIATES, I'M GOING TO ASK

         9    YOU TO DESIST.

11:03 10                  AND MR. CARDONA, I'M GOING TO PAY THE SAME COURTESY TO

        11    YOU, BUT YOU SEEM TO BE PRETTY ACTIVELY INVOLVED.

11:03 12                  YOUR FIRST DEPOSITION OCCURRED ON JANUARY 30 IN

        13    NEW YORK, SHANNON MOODY.

11:03 14                  MR. CARDONA, YOU WERE PRESENT WITH MR. KHORSHID,

        15    MR. NELSON, AND MR. KAO.

11:03 16                  AND I BELIEVE, MS. KELLER, YOU WERE PRESENT.

11:04 17                  MS. KELLER:     I WAS NOT FOR THAT, YOUR HONOR.

11:04 18                  THE COURT:    WHO IS MR. KAO?

11:04 19                  MR. TOMPKINS:     SENIOR COUNSEL WITH MY OFFICE.

11:04 20                  THE COURT:    OKAY.   THE SECOND DEPOSITION WAS WITH A

        21    BRIAN TRAN ON FEBRUARY 4 IN NEW YORK.

11:04 22                  AND, MR. CARDONA, YOU WERE PRESENT AGAIN; MR. KHORSHID,

        23    MR. NELSON.    AND, MALHOTRA, HELP ME WITH THE PRONUNCIATION.

11:04 24                  MR. KEKER:    PAVEN MALHOTRA.    HE IS A PARTNER IN OUR

        25    OFFICE AND IS SITTING RIGHT HERE.


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11:04    1                 THE COURT:     AND YOU HAVE BEEN PRESENT ON A REMARKABLE

         2    NUMBER.     MY COMPLIMENTS TO YOU.       AND BY THE WAY, IN A GENERAL

         3    SENSE, I HEARD VERY GOOD THINGS ABOUT THE WAY IT'S BEEN CONDUCTED.

11:04    4                 MR. SCAVELLI.

11:04    5                 MR. ABRAMS:     MR. SCAVELLI, WHO WAS AN ASSOCIATE IN MY

         6    FIRM WHO HAS ATTENDED MORE THAN ONE DEPOSITION.

11:05    7                 THE COURT:     I'LL GO THROUGH THESE ONE BY ONE IN JUST A

         8    MOMENT.

11:05    9                 MS. WINDLE.

11:05 10                   MR. ABRAMS:     PENNY WINDLE IS A PARTNER OF MINE,

        11    EXTREMELY ACTIVE ON THIS CASE, WHO HAS BEEN IN COURT ACTUALLY ON

        12    ALL PRIOR PROCEEDINGS.

11:05 13                   THE COURT:     AND A PATEL.

11:05 14                   MR. ABRAMS:     IS AN ASSOCIATE AT MY FIRM.

11:05 15                   THE COURT:     THANK YOU.     NOW, REMEMBER, THE SPECIAL

        16    MASTERS PROBABLY HAVE MORE INFORMATION NOW THROUGH THE DEPOSITIONS

        17    THAN THIS COURT HAS, AND YOUR DISCOVERY DISPUTES ARE ACTUALLY

        18    WELCOME BY THE COURT BECAUSE IT LETS ME NOW GET INVOLVED.            IN

        19    OTHER WORDS, THOSE DISPUTES AREN'T BAD FROM A COURT'S PERSPECTIVE.

        20    THEY SHOULD BE GOOD BECAUSE IT GETS ME INVOLVED IN THE CASE.

11:05 21                   WHO WAS THE SPECIAL MASTER ON THE MOODY CASE?        WHO

        22    ATTENDED?

11:05 23                   MS. KELLER, DO YOU KNOW?

11:05 24                   MR. KEKER, MR. ABRAMS, MR. CARDONA?

11:06 25                   MR. CARDONA:     YOUR HONOR, THE SPECIAL MASTERS HAD NOT


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         1    BEEN APPOINTED AT THAT TIME.

11:06    2                THE COURT:     OKAY.     ON BRIAN TRANT, THERE WAS NO SPECIAL

         3    MASTER PRESENT.     I NAMED THOSE PARTIES INVOLVED.          ROBERT CHIRIANI,

         4    FEBRUARY 6.    THESE WERE CONDUCTED ON YOUR OWN WITH SUBSTANTIALLY

         5    THE SAME PARTIES WITHOUT ME RENAMING THEM.

11:06    6                ON FEBRUARY 13, JENNY CHANG.        THERE, MR. NELSON ONCE

         7    AGAIN WAS INVOLVED.       MR. COHEN AND MR. OR MRS. MILLS, I DON'T KNOW

         8    FEMALE OR MALE.     WHO ARE THEY?       ARE THEY EAST COAST FOLKS, WEST

         9    COAST FOLKS?

11:06 10                  MR. CARDONA:     MS. MILLS, SONDRA MILLS, SHE IS IN THE

        11    SAME OFFICE AS MR. NELSON.          MR. COHEN IS ALSO FROM THE DEPARTMENT

        12    OF JUSTICE WORKING ON THIS CASE.

11:06 13                  THE COURT:     ARE THEY IN D.C.?

11:06 14                  MR. CARDONA:     YES.

11:06 15                  THE COURT:     SUBSTANTIALLY THE SAME FOLKS ON S&P SIDE,

        16    MR. MALHOTRA, WINDLE.       A PERSON FOR THE FIRST TIME I SEE, TAYLOR

        17    AND LOPERFIDO.

11:07 18                  MR. ABRAMS:     YES.     HE IS IN COURT TODAY.     AN ASSOCIATE

        19    OF MINE, JEFF LOPERFIDO.

11:07 20                  THE COURT:     IS THE OTHER PERSON, TAYLOR, PRESENT?

11:07 21                  MR. KEKER:     STEVEN TAYLOR IS OUR MANAGING PARTNER FROM

        22    OUR OFFICE, YOUR HONOR.

11:07 23                  THE COURT:     THANK YOU VERY MUCH.     APPRECIATE IT.     I

        24    DON'T SEE THE NAMES, BUT I DON'T KNOW THE FACES YET.

11:07 25                  ANDREW LOKEN, FEBRUARY 14.        NELSON, MILLS, ZIMPLEMAN.


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         1    WHO'S ZIMPLEMAN?

11:07    2                 MR. CARDONA:     MR. ZIMPLEMAN IS ALSO AT THE DEPARTMENT OF

         3    JUSTICE ON THE EAST COAST.

11:07    4                 THE COURT:     ALL OF THESE ARE OCCURRING BEFORE THE

         5    SPECIAL MASTERS ARE CONCERNED.

11:07    6                 THEN MALHOTRA, WINDLE, SCHOENBEK.         WHO IS SCHOENBEK?

11:08    7                 MR. ABRAMS:     AN ASSOCIATE IN MY OFFICE, YOUR HONOR.        SHE

         8    ACCOMPANIED MS. WINDLE TO THE DEPOSITION AND HELPED HER PREPARE

         9    FOR IT.

11:08 10                   THE COURT:     AND THEN WIDERNIK OVER IN DENVER -- ALL THE

        11    FORMER WERE OUT IN NEW YORK -- ON MARCH 26.            MR. CARDONA, YOU WERE

        12    PRESENT AND MR. KHORSHID.           WINDLE, SCAVELLI, YBARRA.   WHO'S

        13    YBARRA?

11:08 14                   MR. KEKER:     MICHELLE YBARRA IS A LAWYER IN OUR OFFICE.

        15    SHE IS SITTING RIGHT BEHIND ME.

11:08 16                   THE COURT:     I JUST DON'T KNOW THE NAMES AND THE FACES

        17    YET.   AND SCAVELLI AND WINDLE.          OKAY.   JAMES HOTCHKISS WITH FIRST

        18    MIDWEST BANK OVER IN CHICAGO ON MAY 30.            AND CARDONA AND KHORSHID

        19    ARE PRESENT AGAIN.        MARKLEY AND TAYLOR.      WHO IS MARKLEY?

11:08 20                   MR. ABRAMS:     BRIAN MARKLEY IS MY PARTNER, WHO IS IN

        21    COURT TODAY AND WHO HAS APPEARED BEFORE YOU PREVIOUSLY.

11:09 22                   THE COURT:     OKAY.     THEN THE SPECIAL MASTERS WERE

        23    APPOINTED.     AND CHRISTOPHER CRAMER OVER IN IOWA, JUDGE SMITH WAS

        24    PRESENT AT THE DEPO JUNE 16.           MR. CARDONA, MR. ZIMPLEMAN, AND

        25    MR. MARKLEY AND MR. MALHOTRA AGAIN.


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11:09    1                SO THE CONSISTENCY WHEN I READ THROUGH THESE,

         2    MR. MALHOTRA, YOU SEEM TO BE PRESENT AT THE MAJORITY OF THESE

         3    DEPOSITIONS FROM WHAT I READ, AND I'LL COME BACK TO YOU IN JUST A

         4    MOMENT.

11:09    5                IN PHOENIX, DALE GIBBONS, JUNE 27.       MR. CARDONA,

         6    MR. ZIMPLEMAN ARE PRESENT.         MARKLEY LOPERFIDO AND MALHOTRA AGAIN.

         7    AND I THINK THAT WAS MR. O'BRIEN.

11:09    8                LAFFEY IN WASHINGTON, D.C. ON JULY 17.          AND

         9    MS. RACKAUCKAS I BELIEVE WAS PRESENT FROM YOUR FIRM AND THOMAS KAO

        10    AGAIN.

11:10 11                  MS. KELLER, WERE YOU PRESENT ALSO?

11:10 12                  MS. KELLER:     I WAS NOT.

11:10 13                  THE COURT:     OKAY.    ADAM DURAN ON JULY 2.     MR. CARDONA IS

        14    PRESENT AGAIN.     NELSON, ZIMPLEMAN.      KAO AND LOPERFIDO.

11:10 15                  ALEXANDER CRAIG ON JULY 23 WITH CARDONA AND NELSON

        16    PRESENT.    MR. MARKLEY IS PRESENT AND MR. PETERS.          AND I THINK

        17    JUDGE SMITH WAS THE SPECIAL MASTER ON BOTH OF THOSE CASES.

11:10 18                  I'VE GOT A LITTLE BIT OF DEARTH OF INFORMATION.          LAURA

        19    CLOHERTY WHO WAS CONDUCTED HERE IN IRVINE ON JULY 24, WHO WERE THE

        20    UNITED STATES ATTORNEYS PRESENT?

11:10 21                  MR. CARDONA:     YOUR HONOR, I AND MR. KHORSHID WERE BOTH

        22    THERE.

11:11 23                  THE COURT:     OKAY.    JUST A MOMENT.

11:11 24                  MR. CARDONA:     YOUR HONOR, IF IT WOULD BE HELPFUL, I HAVE

        25    A LIST OF THE DEPOSITIONS THAT HAS AT LEAST THE NAMES OF THE


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         1    ATTORNEYS.

11:11    2                 THE COURT:     ON BEHALF OF S&P, MINTZ WAS PRESENT.

11:11    3                 MR. ABRAMS:     ADAM MINTZ IS AN ASSOCIATE OF MINE WHO WAS

         4    PRESENT.

11:11    5                 THE COURT:     AND WAS ANYONE ELSE PRESENT?

11:11    6                 MR. ABRAMS:     I DON'T KNOW, YOUR HONOR.

11:11    7                 THE COURT:     MS. KELLER?

11:11    8                 MS. KELLER:     I BELIEVE MR. KAO WAS PRESENT AT THAT AS

         9    WELL.

11:11 10                   THE COURT:     MR. KEKER, ANYBODY FROM YOUR FIRM?

11:11 11                   MR. KEKER:     NO, YOUR HONOR.

11:11 12                   THE COURT:     UMBERTO SERRANO ON JULY 31.    WHO WAS PRESENT

        13    FOR THE U.S. ATTORNEY?

11:11 14                   MR. CARDONA:     YOUR HONOR, THAT ONE WAS NOT CONDUCTED.

        15    IT WAS POSTPONED.

11:11 16                   THE COURT:     HAS THAT BEEN RESCHEDULED?

11:11 17                   MR. CARDONA:     IT HAS NOT YET BEEN RESCHEDULED TO MY

        18    KNOWLEDGE.

11:11 19                   THE COURT:     IS IT GOING TO BE CONDUCTED?

11:12 20                   MR. CARDONA:     THAT WAS ONE NOTICED BY S&P, YOUR HONOR.

11:12 21                   THE COURT:     IS IT GOING TO BE CONDUCTED?

11:12 22                   MR. KEKER:     DEPENDS ON YOUR RULING ONCE WE TALK SOME

        23    MORE ABOUT THE NOTES, THE INTERROGATORY AND SO ON, YOUR HONOR.            WE

        24    DON'T KNOW HOW IMPORTANT THAT DEPOSITION IS UNTIL WE GET SOME

        25    DISCOVERY.


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11:12    1                THE COURT:     RELAX.     YOU DON'T HAVE TO GET UP, EITHER ONE

         2    OF YOU.    JUST PUT THE MICROPHONE CLOSE.

11:12    3                IRENE LI BACK IN NEW YORK ON AUGUST 1.           MR. KAO WAS

         4    PRESENT APPARENTLY FROM S&P.          ANYBODY ELSE?

11:12    5                UNIDENTIFIED SPEAKER:        MR. SCAVELLI WAS THERE AS WELL.

11:12    6                THE COURT:     AND FOR THE GOVERNMENT?

11:12    7                MR. CARDONA:     MR. NELSON WAS THERE, YOUR HONOR.

11:13    8                THE COURT:     AND RICK CAPLAN AUGUST 5.        MR. KAO WAS

         9    PRESENT.    WHO ELSE FOR S&P?        AND I'LL BREAK MY RULE AND LET THE

        10    ASSOCIATES PARTICIPATE, OR PARTNERS.          BUT WHO ELSE WAS PRESENT?

11:13 11                  MR. LOPERFIDO:     I WAS PRESENT.        MR. LOPERFIDO.

11:13 12                  THE COURT:     I WANT YOUR NAME FOR THE RECORD.           THANK YOU.

        13    ANYBODY ELSE FOR THE GOVERNMENT?

11:13 14                  MR. CARDONA:     MR. KHORSHID AND MR. NELSON WERE BOTH

        15    PRESENT.

11:13 16                  THE COURT:     GIDEON SLOMOWITZ, AUGUST 6, MR. SCAVELLI WAS

        17    PRESENT.    WHO ELSE?     ANYBODY?     GOVERNMENT?

11:14 18                  MR. CARDONA:     MR. NELSON AND MR. KHORSHID WERE BOTH

        19    PRESENT.

11:14 20                  THE COURT:     MATHEW SIBER, NEW YORK, AUGUST 6, 2014,

        21    MR. GOLDMAN WAS PRESENT, A NEW NAME FOR ME FOR S&P.             WHO IS THAT

        22    PERSON?

11:14 23                  MR. ABRAMS:     AN ASSOCIATE OF MY FIRM, YOUR HONOR.

11:14 24                  THE COURT:     AN ASSOCIATE.     ANYBODY ELSE?

11:14 25                  MR. ABRAMS:     NOT TO MY KNOWLEDGE.


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11:14    1                THE COURT:     OKAY.   FOR THE GOVERNMENT?

11:14    2                MR. CARDONA:     MR. KHORSHID AND MR. NELSON WERE BOTH

         3    PRESENT.

11:14    4                THE COURT:     WILLIAM SHIEH ON NEW YORK ON AUGUST 7.

         5    SOMEBODY NAMED TILLERY WAS PRESENT.        WHO IS THAT?

11:14    6                MR. KEKER:     IS A LAWYER IN OUR OFFICE WHO IS NOT PRESENT

         7    TODAY, YOUR HONOR.

11:14    8                THE COURT:     YOU DON'T HAVE TO GET UP, I PROMISE YOU.

         9    OKAY.    PRETEND IT'S STATE COURT FOR A MOMENT.        THAT'S WITH YOUR

        10    FIRM?

11:15 11                  MR. KEKER:     YES, SIR.

11:15 12                  THE COURT:     THANK YOU VERY MUCH.    ANYBODY ELSE?     FOR THE

        13    GOVERNMENT?

11:15 14                  MR. CARDONA:     MR. KHORSHID AND MR. NELSON WERE BOTH

        15    PRESENT.

11:15 16                  THE COURT:     PATRICIA VLASIC, AUGUST 7, 2014, TILLERY WAS

        17    PRESENT.    ANYBODY ELSE?

11:15 18                  MR. KEKER:     NOT THAT I KNOW OF, YOUR HONOR.

11:15 19                  THE COURT:     FOR THE GOVERNMENT?

11:15 20                  MR. CARDONA:     MR. KHORSHID AND MR. NELSON WERE BOTH

        21    THERE.

11:15 22                  THE COURT:     JERRY HONG, AUGUST 8, SHORT HILLS, NEW YORK.

        23    SOMEBODY NAMED DAWSON.

11:15 24                  MR. KEKER:     ANDREW DAWSON WAS A LAWYER IN OUR OFFICE,

        25    YOUR HONOR.


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11:15    1                THE COURT:     AND FOR THE GOVERNMENT?

11:15    2                MR. CARDONA:      MR. KHORSHID AND MR. NELSON WERE BOTH

         3    THERE.

11:15    4                THE COURT:     SIMON BUSHI, AUGUST 8.     A PERSON,

         5    MR. GOLDMAN, WAS PRESENT AGAIN, WHO I HAVE SEEN ON ONE PRIOR

         6    DEPOSITION OF SIBER.       ANYBODY ELSE BESIDES MR. GOLDMAN?      ON BEHALF

         7    OF THE GOVERNMENT?

11:16    8                MR. CARDONA:     MR. KHORSHID AND MR. NELSON WERE BOTH

         9    THERE.

11:16 10                  THE COURT:     KYU CHAY, NEW YORK, AUGUST 12, 2014.       WHO

        11    WAS PRESENT FOR S&P?

11:16 12                  MR. KEKER:     SARA SCHOENBEK IS A LAWYER AT CAHILL, YOUR

        13    HONOR.

11:16 14                  THE COURT:     SCHOENBEK.

11:16 15                  MR. KEKER:     THAT'S THE DEPOSITION THAT'S REFERRED TO IN

        16    FOOTNOTE 15 OF THE --

11:16 17                  THE COURT:     SHE WAS ALSO PRESENT WITH ANDREW LOKEN,

        18    APPARENTLY, ON FEBRUARY 14.       AND FOR THE GOVERNMENT?

11:17 19                  MR. CARDONA:     I WAS THERE, YOUR HONOR.

11:17 20                  THE COURT:     MR. CARDONA.     GEORGE OR JORGE CRIVELLI ON

        21    AUGUST 13, IN NEW YORK.

11:17 22                  MS. KELLER, YOU WERE PRESENT.

11:17 23                  MS. KELLER:     THAT'S CORRECT, YOUR HONOR.

11:17 24                  THE COURT:     WHO ELSE WAS WITH YOU?

11:17 25                  MS. KELLER:     MR. SCAVELLI.


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11:17    1                THE COURT:     AND FOR THE GOVERNMENT?

11:17    2                MR. CARDONA:     I AND MR. ZIMPLEMAN WERE BOTH THERE.

11:17    3                THE COURT:     MR. ZIMPLEMAN?

11:17    4                MR. CARDONA:     YES.

11:17    5                THE COURT:     NELSON CHAN, AUGUST 13 IN NEW YORK.

         6    SOMEBODY NAMED YBARRA.       AND I THINK I HAD SEEN THAT NAME OBVIOUSLY

         7    ON THE DEPOSITION OF ANNA WIDERNIK.         WHO ELSE BESIDES MR. YBARRA?

11:18    8                MR. KEKER:     MS. YBARRA IS HERE.

11:18    9                THE COURT:     MY APOLOGIES.

11:18 10                  MS. YBARRA:     YOUR HONOR, ADAM MINTZ FROM THE CAHILL FIRM

        11    WAS THERE AS WELL.

11:18 12                  THE COURT:     THANK YOU.    AND FOR THE GOVERNMENT?

11:18 13                  MR. CARDONA:     MR. NELSON WAS THERE.

11:18 14                  THE COURT:     OKAY.    JASON MACRAE, IN PORTLAND, OREGON.

        15    WHO WAS PRESENT FOR S&P?

11:18 16                  MR. KEKER:     ANDREW DAWSON, I BELIEVE, YOUR HONOR.

11:18 17                  THE COURT:     IS HE FROM YOUR OFFICE?

11:18 18                  MR. KEKER:     YES, YOUR HONOR.

11:18 19                  THE COURT:     FROM THE GOVERNMENT?

11:18 20                  MR. CARDONA:     MR. KHORSHID WAS THERE.

11:18 21                  THE COURT:     GEORGE GRAHAM.     MS. YBARRA WAS PRESENT.    WHO

        22    ELSE WITH YOU?

11:19 23                  MS. YBARRA:     JUST ME, YOUR HONOR.

11:19 24                  THE COURT:     NOT JUST YOU.    YOU.   FOR THE GOVERNMENT?

11:19 25                  MR. CARDONA:     I AND MR. ZIMPLEMAN WERE THERE.


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11:19    1                THE COURT:     CHUI NG IN NEW YORK ON AUGUST 15.

         2    MS. YBARRA, YOU WERE PRESENT AGAIN.          WAS ANYBODY ELSE WITH YOU?

11:19    3                MS. YBARRA:     YES.   MR. LOPERFIDO WAS THERE AS WELL.

11:19    4                THE COURT:     AND FOR THE GOVERNMENT?

11:19    5                MR. CARDONA:     I WAS THERE, YOUR HONOR.

11:19    6                THE COURT:     AND THEN JIMMY CHIN ON AUGUST 16.

         7    MS. YBARRA, YOU WERE THERE.        WAS THERE ANYBODY ELSE WITH YOU?

11:20    8                MS. YBARRA:     MR. LOPERFIDO.

11:20    9                THE COURT:     AND FOR THE GOVERNMENT?

11:20 10                  MR. CARDONA:     I WAS THERE, YOUR HONOR.

11:20 11                  THE COURT:     OKAY.   AUGUST 18 IN SHORT HILLS, NEW YORK,

        12    MR. DAWSON WAS PRESENT.       ANYBODY ELSE?

11:20 13                  MR. KEKER:     NOT THAT I KNOW OF, YOUR HONOR.

11:20 14                  THE COURT:     FOR THE GOVERNMENT?

11:20 15                  MR. CARDONA:     I WAS THERE, YOUR HONOR.

11:20 16                  THE COURT:     MR. SIDLEY IN DALLAS, TEXAS, ON AUGUST 22.

        17    WHO WAS PRESENT FOR S&P?

11:20 18                  MR. MARKLEY:     MR. MARKLEY, YOUR HONOR, AND MY ASSOCIATE

        19    JOHN CYCON.

11:20 20                  THE COURT:     THANK YOU.   AND FOR THE GOVERNMENT?

11:20 21                  MR. CARDONA:     MR. KHORSHID WAS THERE.

11:20 22                  THE COURT:     EDUARD SARGSYAN, SEPTEMBER 3, 2014,

        23    MR. NELSON AND MR. CARDONA I HAVE IN MY NOTES WERE PRESENT.            WHO

        24    WAS PRESENT FOR S&P?

11:21 25                  MS. YBARRA:     YOUR HONOR, I WAS PRESENT ALONG WITH MIHIR


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         1    KSHIRSAGAR FROM CAHILL AS WELL AS MR. GOLDMAN.

11:21    2                THE COURT:    IS THAT JOHN GORDON?

11:21    3                MS. YBARRA:    RICHARD GOLDMAN.

11:21    4                THE COURT:    MY APOLOGIES.     SO GOLDMAN, WHO WAS THE

         5    SECOND NAME?

11:21    6                MS. YBARRA:    MIHIR.

11:21    7                THE COURT:    SPELL THAT FOR ME, WOULD YOU, PLEASE.

11:21    8                MS. YBARRA:    M-I-H-I-R.     AND WOULD YOU LIKE HIS LAST

         9    NAME?

11:21 10                  THE COURT:    THAT'S HIS FIRST NAME.     I APOLOGIZE.     WHAT

        11    IS HIS FIRST NAME -- I MEAN HIS LAST NAME?

11:21 12                  MS. YBARRA:    K-S-H-I-R-S-A-G-A-R.

11:21 13                  THE COURT:    THANK YOU.    AND I ASSUME HE IS WITH THE

        14    GORDON CAHILL FIRM.

11:22 15                  MS. YBARRA:    CORRECT.

11:22 16                  THE COURT:    IS MR. GOLDMAN WITH THE GORDON CAHILL FIRM?

11:22 17                  MS. YBARRA:    CORRECT.

11:22 18                  THE COURT:    ANDREW SMITH.     MR. CARDONA, MR. NELSON, I

        19    HAVE AS BEING PRESENT.      AND THEN FROM S&P?

11:22 20                  MS. YBARRA:    I WAS PRESENT AS WAS MR. KSHIRSAGAR,

        21    MR. GOLDMAN, AND MR. ED HILDEBRAND.

11:22 22                  THE COURT:    NOW, I'M GOING TO ASSUME SOMETHING, AND THAT

        23    IS, AS A TRIAL TEAM, OBVIOUSLY YOU GOT QUALITY FOLKS OUT THERE AND

        24    YOU ARE GETTING INFORMATION BACK; RIGHT?         EVEN THOUGH YOU ARE NOT

        25    PERSONALLY CONDUCTING THE DEPOS.        I NEVER ORDERED THAT.


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11:22    1                 I DIDN'T TAKE US DOWN THE MIRACLE MILE OF BRATZ AND

         2    MATTEL THAT YOU WERE INVOLVED IN, MS. KELLER.           I DON'T THINK IT

         3    WAS NECESSARY.     AND MR. KEKER REPRESENTED IT WOULDN'T BE AND I

         4    DON'T THINK IT IS.

11:23    5                 BUT YOU SEEM TO HAVE MORE CONTINUITY.        BY THAT I MEAN

         6    YOU SEEM TO BE THERE FIRSTHAND.          WHAT I'M FEELING BUT NOT FINDING,

         7    AND THIS IS JUST A SPECULATIVE OPINION, IS THAT WE'RE WALKING

         8    RIGHT NOW.     I DON'T SEE ANY WHAT I CALL WHALES YET.        I SEE

         9    IMPORTANT PEOPLE BY THE WAY.          APPARENTLY, SARGSYAN AND SMITH ARE

        10    INTERESTING FOLKS.        BUT I DON'T SEE THE BANK OF AMERICA, CHASE,

        11    WHATEVER.

11:23 12                   AND SO LAST TIME WHEN I PAID YOU THE COMPLIMENT, I DON'T

        13    TAKE ANY OF THOSE COMPLIMENTS BACK, BUT I THINK THAT THE MAJORITY

        14    OF WORK IS GOING TO BE DONE.          AND I'M GOING TO GIVE YOU THE 100 OR

        15    125 DEPOS.     I MAY GIVE YOU MORE.       BUT WHAT I WON'T DO IS STAND FOR

        16    THIS PROCESS SLOWING DOWN.        SO WHEN YOU ARE NOT BACK TO MY SPECIAL

        17    MASTERS AND I DON'T HAVE A LIST, NOW I'M WONDERING WHAT IS

        18    HAPPENING OUT THERE.

11:23 19                   MR. KEKER:     CAN I RESPOND, YOUR HONOR?

11:23 20                   THE COURT:     IF YOU ANSWER MY QUESTION, YOU CAN.

11:24 21                   MR. KEKER:     I WILL.    I PROMISE YOU.   I'M GOING TO TELL

        22    YOU EXACTLY WHAT IS GOING ON.          EXACTLY WHAT'S GOING ON IS THIS:

        23    IT'S APPARENT THAT THE GOVERNMENT IS, HAVING DONE A FOUR-YEAR

        24    INVESTIGATION WITH A LOT OF TESTIMONY UNDER OATH, IS NOT GOING TO

        25    REPEAT A LOT OF S&P DEPOSITIONS.          A SURPRISE TO US.   I THOUGHT WE


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         1    WOULD BE DEFENDING A LOT OF S&P DEPOSITIONS DURING THIS PERIOD,

         2    BUT --

11:24    3                THE COURT:    GIVE ME AN EXAMPLE.

11:24    4                MR. KEKER:    THE PEOPLE THAT THEY THINK ARE IMPORTANT,

         5    THAT THEY HAVE IDENTIFIED IN ANSWER TO WHO IS THE CRIMINAL HERE,

         6    THERE'S SUPPOSED TO BE A CRIME COMMITTED, THERE IS NO INDICATION

         7    THAT THEY'RE GOING TO TAKE THOSE PEOPLE'S DEPOSITION AGAIN.            THEY

         8    HAVE ALREADY GOTTEN THEM UNDER OATH.        THEY SEEM TO BE SATISFIED.

11:24    9                THE COURT:    REMEMBER, MY SPECIAL MASTERS ARE MORE

        10    KNOWLEDGEABLE; YOU'RE MORE KNOWLEDGEABLE.         IN THE INVESTIGATIVE

        11    PHASE FOR SOME PERIOD OF TIME WHEN S&P WAS HANDING OVER DOCUMENTS,

        12    MY IMPRESSION WAS THAT THERE WAS A RELATIVE COOPERATIVE EFFORT

        13    BETWEEN THE TWO PARTIES TO SEE IF YOU CAN REACH A RESOLUTION.

11:25 14                  WERE DEPOSITIONS TAKEN DURING THAT PERIOD OF TIME?

11:25 15                  MR. KEKER:    YES, SIR.

11:25 16                  THE COURT:    HOW MANY?

11:25 17                  MR. KEKER:    MORE THAN 50.    THEY'RE NOT DEPOSITIONS.

        18    THEY'RE INVESTIGATIVE TRANSCRIPTS WHERE, UNDER THE POWERS THAT THE

        19    GOVERNMENT HAS, THEY TOOK TESTIMONY UNDER OATH OF PEOPLE, SOME OF

        20    WHOM THEY HAD PREVIOUSLY INTERVIEWED UP TO SEVEN TIMES; BUT THEN

        21    THEY WOULD SIT THEM DOWN, PUT THEM UNDER OATH, AND WE HAVE THOSE

        22    TRANSCRIPTS.

11:25 23                  THE COURT:    SOME OF THOSE WE'RE GOING TO HAVE A

        24    DISCUSSION BACK AND FORTH.

11:25 25                  YOU CAN TAKE OFF YOUR COAT IF YOU WANT.


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11:25    1                 MR. KEKER:     AND SMOKE A CIGARETTE.

11:25    2                 THE COURT:     THAT OUGHT TO BE INTERESTING.

11:25    3                 I'M GOING TO REPEAT BACK TO YOU WHAT I HEARD.           YOU KNOW,

         4    JUDGE, WE REALLY EXPECTED OF THOSE 50 OR SO PEOPLE THAT THE

         5    GOVERNMENT TOOK UNDER THE INVESTIGATIVE TRANSCRIPT, WHICH IS SOME

         6    KIND OF QUESTIONING THAT APPARENTLY WENT ON, WE THOUGHT THERE

         7    WOULD BE DEPOSITIONS THAT THE GOVERNMENT RETOOK.           AND WE WOULD BE

         8    PUSHING OUT WITH THOSE 50 FOLKS.           AND THOSE WERE PROBABLY PART OF

         9    THE 50 THAT YOU FACTORED IN WHEN THE NUMBER SEEMED TO BE BANTERED

        10    AROUND OF 100, 125.       IT DIDN'T MATTER TO ME IF YOU WANTED 150.

        11    FINE.

11:26 12                   BUT THAT'S NOT WHAT'S HAPPENING.

11:26 13                   MR. KEKER:     CORRECT.   SO FAR.

11:26 14                   THE COURT:     COULD WE ASK MR. CARDONA, SO FAR, IF HE

        15    PLANS ON BRINGING BACK SOME OF THOSE PEOPLE.           AND IF I COULD GET A

        16    LIST OF THOSE 50 THAT WE HAD INVESTIGATIVE TRANSCRIPTS, BECAUSE

        17    I'D LIKE TO START GETTING FAMILIAR WITH THE NAMES.           MY RULINGS CAN

        18    BE REALLY BAD IF I DON'T KNOW ABOUT YOUR CASE.

11:26 19                   MR. CARDONA:     CERTAINLY.     WE CAN PROVIDE YOU WITH THE

        20    NAMES OF THE PEOPLE WHO WERE PUT UNDER OATH AND GAVE SWORN

        21    STATEMENTS.

11:26 22                   THE COURT:     VERY HELPFUL.     JUST SO I CAN BECOME

        23    FAMILIAR.     I'M NOW NOT HOLDING YOU TO THIS.        REMEMBER, I DIDN'T

        24    ASK FOR A WITNESS LIST.        I'M ASSUMING SOME OF THOSE, ONE TO SOME

        25    OF THEM ARE GOING TO BE DEPOSED IN THE FUTURE.           AS A ROUGH


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         1    BALLPARK FIGURE, ARE YOU PLANNING ON COMING BACK WITH 50, 25, 30?

         2    I'M NOT HOLDING YOU TO THIS, I PROMISE YOU.          BUT JUST GIVE ME A

         3    ROUGH GAME PLAN.

11:27    4                MR. CARDONA:     RIGHT NOW, AGAIN, NOT BEING HELD TO IT, I

         5    WOULD ESTIMATE THAT THE MOST OF THOSE THAT WE WOULD SEEK TO

         6    REDEPOSE WOULD BE SOMEWHERE ON THE ORDER OF THREE TO FIVE.

11:27    7                THE COURT:     OKAY.    AND YOU'LL SHARE WITH MR. KEKER WHO

         8    THOSE MIGHT BE?

11:27    9                MR. CARDONA:     YES.

11:27 10                  THE COURT:     COULD YOU TELL HIM NOW?

11:27 11                  MR. CARDONA:     I DON'T THINK I COULD RIGHT NOW.

11:27 12                  THE COURT:     OKAY.    WE WON'T TELL HIM NOW, BUT IN THE

        13    FUTURE, WE'LL TELL --

11:27 14                  MR. CARDONA:     I THINK DON'T KNOW RIGHT NOW, YOUR HONOR,

        15    BECAUSE IT DEPENDS ON HOW SOME OF THE OTHER DEPOSITIONS THAT WE

        16    HAVE ASKED THEM TO SCHEDULE GO.

11:27 17                  THE COURT:     I CAN'T BELIEVE YOU ARE BOTH IN THE POSITION

        18    OF GIVING UP 25 DEPOS THAT I HAVE MARKED DOWN FOR SEPTEMBER, BUT

        19    WHICH WE DON'T SEEM TO BE ON TRACK TO ACCOMPLISH.

11:27 20                  MR. KEKER:     THAT'S WHAT I WANTED TO FINISH THE OTHER

        21    HALF OF IT.    I MEAN, THERE ARE TWO PIECES TO THIS.        THE GOVERNMENT

        22    WANTS TO PROVE ITS CASE.       AND WE WERE EXPECTING AND WE EXPECT THEM

        23    TO TRY TO USE SOME S&P TESTIMONY TO DO THAT.          AND IT LOOKS LIKE

        24    THEY'RE PRETTY SATISFIED WITH THE TESTIMONY THAT THEY HAVE AND

        25    THEY'LL USE.    SO WHATEVER THEY'RE GOING TO DO, THEY'RE GOING TO


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         1    DO.

11:28    2                 NOW, THAT'S ONE HALF OF THE CASE WHICH WE SAY S&P DID

         3    THE BEST THEY COULD.      SURE, THEY MISSED THINGS, BUT SO DID

         4    EVERYBODY ELSE.     WE KNOW ABOUT THAT SIDE OF THE CASE.        THERE IS

         5    ANOTHER SIDE OF THE CASE, THOUGH, THAT WE WERE HERE ABOUT LAST

         6    TIME.    AND THAT IS FOR US THE HUGE SIDE OF THE CASE.         AND THAT IS,

         7    LADIES AND GENTLEMEN, NOT ONLY DID S&P NOT DO ANYTHING WRONG, BUT

         8    WE'RE GOING TO TELL YOU WHAT WENT WRONG WITH THIS CRAZY BUSINESS.

11:28    9                 WE'RE GOING TO EXPLAIN TO YOU WHAT THE BANKS DID, WHAT

        10    THE COLLATERAL MANAGERS DID, WHAT THE TRUSTEES DID.           WE'RE GOING

        11    TO EXPLAIN TO YOU HOW THIS ALL WORKED AND WHY IT'S NOT S&P'S

        12    FAULT.    TO THE EXTENT YOU WANT TO FIND FAULT, IT'S SOMEBODY ELSE.

11:29 13                   AND THOSE DEPOSITIONS ARE DEPOSITIONS THAT ARE GOING TO

        14    BE EXTREMELY -- THE REASON THAT NOT ALL OF US ARE DOING EVERYTHING

        15    IS THAT SOME OF US ARE SITTING BACK TRYING TO THINK BANK BY BANK,

        16    CDO BY CDO, HOW ARE WE GOING TO GET AT THAT IN A WAY THAT MAKES

        17    SENSE.    AND WE DON'T EVEN HAVE THE DOCUMENTS YET.        SEPTEMBER 15 --

11:29 18                   THE COURT:   FROM THE BANKS.

11:29 19                   MR. KEKER:   FROM THE BANKS.    WE HAVE THE PROMISE.      AND

        20    WE BELIEVE THAT AS A RESULT OF THE LAST TIME WE WERE HERE THE

        21    BANKS HAVE INDICATED THEY'RE GOING TO BE PRODUCING THESE

        22    DOCUMENTS.     SO ON SEPTEMBER 15 WE'RE GOING TO BE DELUGED WITH

        23    DOCUMENTS.     AND THEN WE HAVE TO FIGURE OUT QUICKLY WHAT WE'RE

        24    GOING TO DO WITH THEM.      WE HAVE TO ASSIGN A TEAM TO FIGURE OUT NOW

        25    WHO IN THIS BANK, WHO DO WE WANT TO DEPOSE.         WHO IN THE COLLATERAL


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         1    MANAGERS DO WE WANT TO DEPOSE.

11:29    2                 THE COURT:    JUST A MOMENT.   I WANT A TRANSCRIPT OF THIS,

         3    DEBBIE.     I WANT TO SEND IT OVER TO THE SPECIAL MASTER SO THEY KNOW

         4    WHAT'S HAPPENING IN THIS CONVERSATION.

11:30    5                 MR. KEKER:    AND I CAN'T SPEAK QUICKLY BECAUSE SHE CUTS

         6    OFF MY GS.     SO I'M GOING TO SPEAK SLOWER.

11:30    7                 THE COURT:    WHEN YOU SEE HER STAND UP, SHE IS REALLY

         8    MAD.

11:30    9                 MR. KEKER:    I GET MAD WHEN I SEE THE TRANSCRIPT AND I

        10    SOUND LIKE A HICK.

11:30 11                   THE COURT:    YOU OUGHT TO SEE WHAT MY TRANSCRIPTS LOOK

        12    LIKE.

11:30 13                   MR. KEKER:    WELL, AT LEAST YOU'RE THE JUDGE.      THEY'RE A

        14    LITTLE NICER TO YOU THAN IF YOU'RE A LAWYER.

11:30 15                   IN ANY EVENT, THE BIG TASK THAT WE ARE CONFRONTING --

        16    THERE IS A NUMBER OF BIG TASKS, BUT THE BIGGEST TASK IS ON A

        17    SECURITY-BY-SECURITY BASIS.       AND WE GOT 150 TO DEAL WITH.

        18    ALTHOUGH CLUSTERED, LOTS OF THEM ARE BANK OF AMERICA.           LOTS OF

        19    THEM ARE CITIGROUP.       WE HAVE A FEW CLUSTERS, DEUTCHE BANK AND SO

        20    ON.     WE NEED TO GET OUR HANDS AROUND THAT.      AND THAT REQUIRES

        21    FIGURING OUT THE DOCUMENTS.       FIGURING OUT 30(B)(6) DEPOSITIONS AND

        22    HOW TO GET IT DONE.       FIGURING OUT INDIVIDUALS THAT WE WANT TO

        23    TAKE.     AND THAT IS SOMETHING THAT I'M LATER GOING TO BEG YOU TO

        24    LET US FIGURE OUT FOR OURSELVES.

11:31 25                   YOU CAN'T TELL US, I WANT 30 OF THOSE BEFORE -- I MEAN,


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         1    OUR GOAL IS TO GET THAT PROJECT DONE BY THE END OF THE YEAR, BUT I

         2    CAN'T TELL YOU WHEN WE'RE GOING TO GET OUT THE FIRST DEPOSITION

         3    NOTICE.    I CAN'T TELL YOU UNTIL WE GET OUR HANDS AROUND THE

         4    DOCUMENTS EXACTLY HOW WE'RE GOING TO PROCEED; WHO FIRST, WHO

         5    SECOND.

11:31    6                 BUT I CAN TELL YOU THAT YOU HAVE MADE LOUD AND CLEAR

         7    THAT THIS CASE IS GOING TO TRIAL IN EITHER AUGUST OR SEPTEMBER.

         8    WE WANT TO ARGUE FOR SEPTEMBER LATER, BUT SOME TIME.           WE

         9    UNDERSTAND THAT.     WE UNDERSTAND IT'S NOT GOING TO BE CONTINUED.

        10    WE UNDERSTAND THAT THE DISCOVERY IS GOING TO BE CUT OFF BY, AS WE

        11    HAVE AGREED, AT LEAST BY THE END OF MAY.         WE UNDERSTAND THAT IF WE

        12    DON'T GET IT DONE AND OUR CLIENT IS GOING TO BEAR THE

        13    CONSEQUENCES, WE GET ALL OF THAT.

11:32 14                   WHAT I'M KIND OF BEGGING YOU IS, WE ARE -- YOU MAY BE

        15    THE GENERAL, BUT WE'RE DEPLOYING OUR FORCES, OUR DEFENSE.            AND WE

        16    NEED TO BE ABLE TO FIGURE OUT HOW TO DO IT WITHOUT ARBITRARY

        17    DICTATION.

11:32 18                   AND THE REASON THAT WE HAVEN'T TAKEN WHALES IS THAT WE

        19    DON'T WANT TO TAKE A WHALE UNTIL -- THE WHALES FOR US ARE NOT OUR

        20    PEOPLE.    WE CAN TALK TO OUR PEOPLE.      THE WHALES FOR US ARE BANKS,

        21    COLLATERAL MANAGERS AND SO ON FOR WHOM WE DON'T HAVE THE DOCUMENTS

        22    YET.

11:32 23                   AND WHAT WE DID WITH THE 25, THE REASON A LOT OF THEM

        24    WERE IMPORTANT, THE GOVERNMENT SAID INITIALLY THERE'S 70 PEOPLE

        25    THAT WE BASE OUR CASE ON.      HERE IS THE LIST.     THEY TOLD US THAT.


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       1    AND THEN THEY SAID WE HAVE INTERVIEWED A HUNDRED PEOPLE.           AND SO

       2    WE SAID, GEE -- AND WE HAVE TALKED ABOUT THIS BEFORE.           WE SAID

       3    SINCE THEY DON'T ANSWER AN INTERROGATORY SAYING WHAT PEOPLE TOLD

       4    THEM, LET'S FIGURE OUT IF THERE ARE ANY NUGGETS, IF THERE IS

       5    ANYTHING IN THIS HAYSTACK THAT WILL BE USEFUL.          LET'S GO OUT AND

       6    TRY TO FIND -- TWO GOALS:      LET'S TALK TO THE PEOPLE THAT DIDN'T

       7    HAVE TRANSCRIPTS SO WE CAN'T SEE WHAT THEY SAID, AND ASK THEM WHAT

       8    THEY TOLD THE GOVERNMENT AND SEE IF THERE IS ANY EXCULPATORY

       9    INFORMATION, BRADY-TYPE MATERIAL THAT THEY TOLD THE GOVERNMENT

     10     THAT THE GOVERNMENT DIDN'T LIKE, AND THEREFORE DIDN'T PUT THEM

     11     UNDER OATH.     AND THAT WAS ONE PURPOSE.

11:33 12                 AND THEN THE SECOND PURPOSE WAS TO SHOW YOU THAT OVER A

     13     FOUR-YEAR INVESTIGATION WHERE THEY INTERVIEWED ALL THESE PEOPLE,

     14     THE PEOPLE CAN'T REMEMBER WHAT THEY SAID TO THE GOVERNMENT.            THE

     15     GOVERNMENT HAS THIS MATERIAL OF INTERVIEW NOTES AND SO ON THAT

     16     THEY CAN USE TO IMPEACH A WITNESS.        WE DON'T KNOW WHAT IT IS.       AND

     17     SO WE WANTED TO, AFTER THE 25, COME BACK TO YOU AND SAY, PLEASE,

     18     MAKE THEM ANSWER THAT INTERROGATORY; OR IF THEY CHOOSE, GIVE US

     19     THE NOTES.     NOT WORK PRODUCT, JUST WHAT DID THEY TELL YOU.

11:34 20                 AND ONE OF THE EXAMPLES IS THIS CHAY.       IT'S AN ASIAN

     21     NAME.   WHERE MR. CARDONA, ON AUGUST 15 -- THIS IS FOOTNOTE 12 I

     22     THINK IN OUR BRIEF -- MR. CARDONA IS SAYING DIDN'T YOU TELL -- WE

     23     SAY, "WHAT DID YOU TELL THE GOVERNMENT WHEN YOU WERE INTERVIEWED?"

11:34 24                 HE SAYS, "I DON'T REMEMBER WHAT I TOLD THE GOVERNMENT.

     25     WE SPOKE GENERALLY ABOUT THIS."


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11:34    1                MR. CARDONA STARTS ASKING HIM QUESTIONS OBVIOUSLY BASED

         2    ON THE INTERVIEW MEMO SAYING, DIDN'T YOU TELL THE INVESTIGATOR

         3    THIS; DIDN'T YOU TELL THE INVESTIGATOR THAT.         THAT'S AN ADVANTAGE

         4    THAT THEY HAVE WITH A HUNDRED OF THESE PEOPLE.

11:34    5                I MEAN, WE NEED TO KNOW, AND WE SHOULDN'T HAVE TO TAKE A

         6    HUNDRED DEPOSITIONS TO DO IT, AND WE SHOULDN'T HAVE TO COME BACK

         7    TO YOU ONE BY ONE TO TRY TO GET THE NOTES.         WE NEED TO KNOW

         8    WHETHER OR NOT THERE IS BASICALLY ANY EXCULPATORY MATERIAL OUT

         9    THERE THAT THE GOVERNMENT DOESN'T WANT US TO KNOW ABOUT.

11:35 10                  WE NEED TO KNOW WHETHER OR NOT, WHEN WE HAVE A

        11    DEPOSITION TRANSCRIPT AND THEY HAVE INTERVIEWED THE PERSON FIVE

        12    TIMES, IF SOME OF THOSE FIVE TIMES HAD MATERIAL THAT NEVER MADE IT

        13    INTO THE DEPOSITION TRANSCRIPT WHICH WOULD BE HELPFUL TO US.

11:35 14                  SO ONE OF THE THINGS THAT WE SAID IN OUR CASE MANAGEMENT

        15    STATEMENT IS PLEASE REVISIT THIS.        MAKE THEM TELL US SO WE DON'T

        16    WASTE TIME IN DISCOVERY AND ONLY TAKE DEPOSITIONS OF PEOPLE WHERE

        17    WE NEED TO DO TRUE DEPOSITIONS.

11:35 18                  SO THOSE ARE MY TWO THINGS.      ONE IS THE NOTES OR THE

        19    INTERROGATORY ANSWER.      AND THE SECOND IS, PLEASE, WE'LL GIVE YOU

        20    THE LIST OF THE -- WE HAVE GOT 25 DEPOSITIONS I THINK THAT HAVE

        21    EITHER BEEN NOTICED OR SET UP OVER THE NEXT SIX WEEKS.           CERTAINLY

        22    WE OUGHT TO GET YOU THAT LIST, BUT NOT ALL OF THEM ARE IMPORTANT.

        23    THE WHALES FOR US ARE THE BANKS, AND PLEASE LET US DECIDE HOW TO

        24    HANDLE THAT.

11:36 25                  AND THE FINAL THING I WANT TO SAY BECAUSE I CAN SEE


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         1    WHERE YOU ARE GOING.      THANK GOODNESS WE HAVE SUCH GOOD PEOPLE.        WE

         2    GET SUMMARIES.     WE TRY TO KEEP UP WITH IT.      I'LL SPEAK FOR MYSELF.

         3    I'M A TRIAL LAWYER.      I CAN'T -- AND TO BE A TRIAL LAWYER, YOU HAVE

         4    GOT TO WORK WITH PEOPLE THAT YOU REALLY TRUST.

11:36    5                I MEAN, IT'S MY JOB IN TRIAL TO BE RESPONSIBLE FOR

         6    EVERYTHING THAT I SAY TO THE WITNESS, TO YOU, TO EVERYTHING ELSE.

         7    AND TO DO THAT I'VE GOT TO BE ABLE TO DEPLOY MY TROOPS TO HELP ME

         8    IN THE WAY THAT I'M USED TO AND THAT I CAN DO, SO I CAN DO MY JOB.

         9    AND IF YOU EVER THINK I'M NOT DOING IT, THEN COME DOWN ON ME HARD.

11:36 10                  I GET IT.    I KNOW WHAT MY JOB IS.     BUT WE HAVE GOT TO BE

        11    ABLE TO DECIDE HOW TO USE OUR TROOPS.

11:37 12                  THE COURT:    OKAY.   I THINK THAT WITHOUT MAKING SPECIFIC

        13    RULINGS, I WANT TO WALK YOU BACK THROUGH AN ABSOLUTE CANDIDNESS --

        14    AND I'LL PUT IT ON THE RECORD -- SOME OF THE SPECULATIVE THINGS I

        15    WAS THINKING.     BECAUSE REMEMBER, THE THINGS I WAS THINKING AT THE

        16    BEGINNING OF THE CASE AREN'T REALITY.        I GET PAID TO ANTICIPATE IN

        17    COMPLEX LITIGATION ALL THE PROBLEMS THAT CAN ARISE AND TO TRY TO

        18    MAKE CERTAIN THAT BOTH OF YOU HAVE A FAIR TRIAL.

11:37 19                  SO TO BEGIN WITH, WHEN S&P FIRST CAME IN MY COURT,

        20    MR. KEKER AND MS. KELLER AND MR. ABRAMS, THE ONLY MOTIONS IN FRONT

        21    OF ME -- AND I DON'T MEAN ONLY, BUT ONE OF WHAT I'M GOING TO CALL

        22    SELECTIVE PROSECUTION AND THE OTHER ONE WAS THE MOTION CONCERNING

        23    PUFFERY.    AND THAT'S WHERE -- FROM A TRIAL JUDGE'S STANDPOINT,

        24    THAT'S WHAT I'M DEALING WITH POTENTIALLY IN TERMS OF THE FIRST

        25    OFFENSES I'M SEEING.      AND I'M NOT ASKING WHAT YOUR DEFENSES ARE.


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         1    THEY COULD BE A MULTITUDE; THEY COULD BE ONE.          I DON'T WANT YOUR

         2    TRIAL STRATEGY.

11:38    3                AND I REALIZED AT THAT TIME THAT THE GOVERNMENT HAD A

         4    TREMENDOUS ADVANTAGE IN GOOD FAITH, AND THAT IS THAT THERE HAD

         5    BEEN A TWO-YEAR INVESTIGATION.       SO AS YOU SAY, ON ONE SIDE I NOW

         6    KNOW THERE ARE ABOUT 50 WITNESSES WHO WEREN'T DEPOSED, BUT

         7    UNDERWENT AN INVESTIGATIVE REVIEW.        I DIDN'T KNOW THAT NUMBER

         8    BEFORE.    NOR HAVE I EVER INQUIRED, NOR HAVE EITHER OF YOU SHARED

         9    WITH ME, BECAUSE I HAVEN'T INQUIRED, HOW EXTENSIVE THAT INTERVIEW

        10    WAS.   I JUST HAD A TIME FRAME OF ABOUT TWO YEARS.

11:38 11                  THEN IN WATCHING ALL THE SETTLEMENTS THAT WERE TAKING

        12    PLACE, WHETHER IT WAS CHASE OR NOW BANK OF AMERICA FOR

        13    $17 BILLION, I HEARD FOR THE FIRST TIME IN THE EARLY PART OF OUR

        14    DISCUSSION THAT THERE MIGHT BE THE DIFFICULTY THAT S&P WAS FACING.

        15    AND THAT WAS IF THE DEFENSE WAS THAT THE BANKS WERE ACTUALLY

        16    MISLEADING, IF THE TRANCHES WERE IMPROPERLY MIXED, ET CETERA, AND

        17    IT CAME TO S&P, THAT THERE WERE TWO TACTS THAT I SPECULATED ON

        18    THAT S&P MIGHT TAKE.      AND THAT ONE WAS THAT THE BANKS HAD MISLED

        19    S&P.   AND IF S&P HAD DONE ANYTHING WRONG, WHATEVER THAT IS, THAT

        20    CERTAINLY DAMAGES WERE DIMINISHED FROM THE $5 MILLION THAT THE

        21    GOVERNMENT IS ASKING.

11:39 22                  NOW, REMEMBER THIS IS ALL SPECULATION.        THIS WASN'T YOUR

        23    DEFENSE.    BUT I NEEDED TO ANTICIPATE WHAT IS THAT GOING TO LOOK

        24    LIKE FROM A TRIAL COURT'S PERSPECTIVE.         SO I LOADED UP, QUITE

        25    FRANKLY.    YOU SAW TWO MAGISTRATE JUDGES WALK IN.        YOU SAW TWO


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         1    SPECIAL MASTERS WALK IN.      AND IT WAS BECAUSE I CAME PREPARED FOR

         2    THE WORST-CASE SCENARIO NOT KNOWING WHERE WE WERE GOING.

11:39    3                 I DIDN'T WANT TO REINVIGORATE BY GETTING ANOTHER SPECIAL

         4    MASTER OR ANOTHER MAGISTRATE JUDGE.        BY THE WAY, I TOOK YOUR

         5    CONCERN TO HEART, AND THAT PARTICULAR MAGISTRATE JUDGE IS NOT

         6    INVOLVED.

11:40    7                 THEN IN THE LAST OPPORTUNITY TO DISCUSS THIS WITH YOU,

         8    MY GREATEST CONCERN WOULD BE WHAT I CALL THE THIRD-PARTY ENTITIES.

         9    AND THAT IS SOMETHING S&P COULDN'T CONTROL IF YOU WENT DOWN THE

        10    LINE OF A DEFENSE THAT, WE'VE GOT TO GO, JUDGE, BANK BY BANK.            AND

        11    WHETHER THERE IS LIABILITY OR NOT, THERE IS 60 PERCENT OF IT

        12    VERSUS WITH BANK OF AMERICA THAT MAY NOT FLY IN FRONT OF A JURY,

        13    WHICH IS A HUGE AMOUNT.      OR CHASE OR CITIGROUP.

11:40 14                   SO ON THE LAST HEARING, I HEARD 100 MILLION PAGES FROM

        15    BANK OF AMERICA, 75 MILLION PAGES FROM WELLS FARGO OR WHATEVER.

        16    AND NEITHER ONE OF YOU COULD CONTROL THAT IN A SENSE.           YOU

        17    COULDN'T CONTROL THE VOLUME.       YOU COULD JUST MAKE THE REQUEST.

11:40 18                   BUT AS YOU KNOW, I THINK I SENT THE MESSAGE, I THOUGHT

        19    YOUR SEARCH TERMS WERE TOO BROAD.        I THOUGHT YOU COULD NARROW

        20    THOSE.   BUT TRUST ME, THERE WILL BE A FAIR AND EQUITABLE

        21    DISTRIBUTION OF COST.      REGARDLESS OF MY RULING, THAT STILL CAUSES

        22    A BALANCING EFFECT.      SO YOU ON THE S&P SIDE SHOULDN'T BE DRIVEN

        23    INTO POVERTY OR OBLIVION OR FORCED TO SUBMIT BECAUSE OF LACK OF

        24    RESOURCES AND THE JUDGE HEAPS ALL THE COST OF PRODUCTION ON YOU.

        25    TRUST ME, IT WILL BE EQUITABLE.       WE'RE JUST DEALING NOT WITH A


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         1    SEVEN-POINT STANDARD NOW.      WE'RE DEALING WITH A LITTLE DIFFERENT

         2    STANDARD AFTER THE RULE WAS AMENDED.

11:41    3                 SO I'LL BE VERY CAREFUL THAT THAT'S EQUITABLE; MAYBE NOT

         4    AFFORDABLE, BUT EQUITABLE BETWEEN THE BANKS AND YOU.

11:41    5                 SO I READ ABOUT THE BANK OF AMERICA SETTLING FOR

         6    $17 BILLION.     AND I GET PAID TO SPECULATE.      THIS IS NOT YOUR

         7    DEFENSE.     AND I'M THINKING, GOSH, WHAT HAPPENS IF S&P REALLY TAKES

         8    ON BANK OF AMERICA, AM I GOING TO HAVE COUNTRYWIDE AS THE

         9    PRECURSOR IN HERE?     AM I GOING TO HAVE ANTHONY PRESENT?          I JUST

        10    DON'T KNOW YET.     AND I DON'T THINK YOU KNOW YET UNTIL YOU SEE

        11    THOSE DOCUMENTS.

11:42 12                   SO WHAT YOU ARE SAYING IS FAIR GAME FOR ME.        I

        13    UNDERSTAND THAT.     I'M NOT REQUIRING YOU TO HAVE 25 DEPOSITIONS A

        14    MONTH.     I'M JUST TRYING TO GIVE YOU THE DEPOSITIONS YOU INITIALLY

        15    ALLUDED AT THE VERY BEGINNING OF THE CASE.         AND IF YOU DECIDE NOT

        16    TO USE THEM, SO BE IT.      I'LL WORK WITH YOU AND THE GOVERNMENT TO

        17    MAKE THAT FAIR.     YOU'LL GOVERN YOUR OWN CASE.

11:42 18                   BUT THE REASON I GOT OFF TO THAT START OF 25 WAS BECAUSE

        19    BOTH OF YOU WERE TOSSING OUT TO ME THIS HORRENDOUS NUMBER OF "WOE

        20    IS ME, WE HAVE GOT TO DEPOSE THESE PEOPLE."         AND I DIDN'T KNOW

        21    THAT THE GOVERNMENT WASN'T GOING TO GO BACK AND DEPOSE, FOR

        22    INSTANCE, THE 50 AT THAT TIME.       I'M NOT SURE YOU KNEW AT THAT

        23    TIME.

11:42 24                   SO IN SHORT, I STILL DON'T KNOW WHAT TO EXPECT OF BANK

        25    OF AMERICA.     I DON'T KNOW WHAT TO EXPECT IN TERMS OF PUSHBACK,


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         1    PRIVILEGE LOGS, ET CETERA, AND NEITHER DO YOU.          BUT TRUST ME, I

         2    THINK I HAVE SENT A VERY CLEAR MESSAGE WITH THE FIRST RULINGS

         3    WHICH THIS COURT'S HANDLED AND NOT GIVEN TO A MAGISTRATE OR THE

         4    SPECIAL MASTER EXACTLY WHERE THAT'S GOING TO COME DOWN.           AND IF

         5    PEOPLE CAN'T READ THE TEA LEAVES...

11:43    6                  NOW, HOWEVER THEY WANT TO WORK THAT OUT, THERE IS GOING

         7    TO BE A FAIR HEARING AND I'M GOING TO LISTEN.          BUT I DON'T KNOW IF

         8    I'M GOING TO BE DELUGED WITH PRIVILEGE LOGS, ET CETERA, HOW GOOD

         9    THOSE ARE.     SOME OF THOSE MAY BE ABSOLUTELY ON POINT.        AND THE

        10    BANKS MAY NEED TO PRESERVE THOSE IN GOOD FAITH.          AND THEY'LL GET A

        11    FAIR RULING ON THAT.

11:43 12                   BUT IF I START SEEING SPECIOUSNESS, YOU NEVER WANT A

        13    JUDGE TO START GOING NO, NO, NO.        BECAUSE IT GETS REAL EASY TO SAY

        14    NO, NO.    JUST SWEEP IT.    THEY'RE NON-CREDIBLE.

11:43 15                   MR. KEKER:   YOUR HONOR, ONE OF OUR REQUESTS IS THAT YOU

        16    STICK WITH THE PROCEDURE THAT YOU SET UP FOR THE BANKS FOR THE

        17    FUTURE BECAUSE THAT WORKED VERY, VERY WELL.

11:43 18                   THE COURT:   YOU'RE MORE ACTIVELY INVOLVED RIGHT NOW, YOU

        19    AND MR. CARDONA AND MR. ABRAMS AND MS. KELLER.          I'LL BE MUCH MORE

        20    ACTIVELY INVOLVED, BELIEVE IT OR NOT, AS THIS CASE GOES ALONG UP

        21    UNTIL THE TIME OF THE TRIAL THAN YOU ARE.         I JUST HAVEN'T SWUNG MY

        22    COURT AROUND BECAUSE I'M ALSO CARRYING 400 CASES.          TRUST ME, I

        23    DON'T KNOW YOUR CASE WELL NOW.       I WILL KNOW YOUR CASE VERY WELL

        24    WITHIN A COUPLE OF MONTHS.

11:44 25                   SO I'M WAITING NOW FOR THE BANKS ALSO.       IT'S SOMETHING


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         1    NEITHER ONE OF YOU GENTLEMEN CAN CONTROL.         IT'S OUTSIDE THESE

         2    MOTIONS.     SO I'LL HANDLE ALL THOSE PRIVILEGE LOGS TO BEGIN WITH.

         3    IT'S GOING TO BE A HUGE AMOUNT OF WORK, WHICH IS WHAT I WARNED YOU

         4    ABOUT.     IF YOU'RE GOING DOWN THAT SIDE, IT'S GOING TO CAUSE A

         5    TREMENDOUS AMOUNT OF WORK.       AND I TOSS THAT OUT, AND I ANTICIPATED

         6    THAT YOU MIGHT.

11:44    7                 OKAY.   ENOUGH OF THAT TALK.     THE SPECIAL MASTERS ARE ON

         8    THE ROAD, BUT RIGHT NOW THEY'RE NOT DOING ANYTHING.           AND I WOULD

         9    JUST ENCOURAGE YOU, IF YOU HAVE DEPOSITIONS, WHAT I CALL THE

        10    MINNOWS, GET THEM OUT OF THE WAY NOW.         MAKE YOUR DECISION NOW.

        11    BECAUSE YOU'RE GOING TO BE REALLY JAMMED.         I'M NOT GOING TO FORCE

        12    IT ON YOU, BUT I'M JUST SAYING TO YOU I'LL GIVE YOU 150 IF YOU

        13    WANT.     NO PROBLEM.

11:44 14                   MR. KEKER:    WE HAVE 25 SCHEDULED IN THE NEXT FEW WEEKS

        15    AS IT IS.     SOME OF THOSE ARE MINNOWS.

11:44 16                   THE COURT:    YOU RUN YOUR CASE.    I NEVER WON A CASE WHEN

        17    I WAS PRACTICING.       SO THAT'S IT.   BUT I ALSO DON'T WANT YOU TO GET

        18    JAMMED.     BUT I'M NOT GOING TO BE LISTENING COME JANUARY UNLESS THE

        19    BANKS ARE PUSHING BACK.       AND IF THEY'RE PUSHING BACK, THAT'S GOING

        20    TO BE A REALLY INTERESTING HEARING.         BECAUSE THEN THE COURT NEEDS

        21    TO SET A TONE BECAUSE NEITHER ONE OF YOU GENTLEMAN CAN CONTROL

        22    THOSE THIRD PARTIES.       I HAVE TO CONTROL THAT.     SO I'M WAITING TO

        23    SEE WHAT THE BANKS DO, QUITE FRANKLY.

11:45 24                   NOW, I'M ALSO ANTICIPATING THIS:      IF THE GOVERNMENT

        25    SETTLED FOR $17 MILLION, AND WHATEVER YOU THINK BANK OF AMERICA'S


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         1    CONTRIBUTION IN TERMS OF TRANCHES THAT WERE FED TO S&P ARE,

         2    WHETHER THAT'S 10 PERCENT OF YOUR RECOVERY, 20 PERCENT OR

         3    30 PERCENT THAT COME FROM THOSE, COUNTRYWIDE, BANK OF AMERICA

         4    TRANCHES, I DON'T KNOW WHAT THAT PERCENTAGE IS, YOU JUST TOLD ME

         5    ABOUT 60 PERCENT THROUGH FIVE ENTITIES; NOW I'M GOING TO

         6    ANTICIPATE AN ADDITIONAL PROBLEM THAT I DON'T HAVE TO WRESTLE WITH

         7    RIGHT NOW.

11:46    8                 WHAT INFORMATION DOES SOMEBODY ELSE IN THE DEPARTMENT OF

         9    JUSTICE HAVE -- ALREADY HAVE THAT LED TO THAT SETTLEMENT THAT

        10    CAUSED THE BANK TO -- NOW HOLD ON.        I'M NOT ASKING.     I'M JUST

        11    TOSSING OUT SPECULATION.      I GET PAID A LOT TO.

11:46 12                   WHAT WENT INTO THOSE SETTLEMENT DOCUMENTS.        HOW

        13    MALFEASANT WAS THAT BANK?      WHAT DID ANTHONY OR TONY ET CETERA GET

        14    INVOLVED IN WITH COUNTRYWIDE.       WAS THAT REALLY B OF A OR

        15    COUNTRYWIDE?     I KNOW THEY GOT PURCHASED.      AND THAT'S GOING TO BE A

        16    HUGE DELUGE OF MATERIAL THAT YOU MAY NOT EVEN HAVE ACCESS TO.

        17    YOU'RE NOT THE TRIAL ATTORNEY ON THAT CASE.         NOW, HOLD ON.     DID

        18    YOU NOTICE THAT?     I'M FEELING GOOD ABOUT MYSELF, SO YOU JUST HANG

        19    WITH ME.

11:46 20                   SO I GET PAID TO SPECULATE WHAT'S THIS GOING TO LOOK

        21    LIKE IN FRONT OF A JURY.      AND ALL OF A SUDDEN, S&P COMES TO ME AND

        22    SAYS, YOU KNOW, JUDGE, WE HAVE A NEED OVER ON B OF A SIDE BECAUSE

        23    WE'RE GOING TO GO AFTER B OF A.       AND WE'RE GOING TO CLAIM THAT

        24    THEY FED US THESE TRANCHES IN A MISLEADING WAY.          AND IF YOU DID

        25    FIND US LIABLE, LADIES AND GENTLEMEN OF THE JURY, YOU CERTAINLY


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         1    FIND US LIABLE FOR THE WHOLE AMOUNT THAT THE GOVERNMENT'S ASKING;

         2    YOU SHOULD FIND US LIABLE FOR A LESSER AMOUNT.           THIS IS ALL

         3    SPECULATION.     I DON'T KNOW THAT'S THEIR DEFENSE.

11:47    4                BOY, THAT COULD BE OR NOT BE A VERY WELL-TAKEN MOTION.

         5    BECAUSE THEY MAY BE ENTITLED AT LEAST TO MITIGATE.           AND IF SO,

         6    THAT GETS INTO A WHOLE SET OF OTHER DOCUMENTS, MR. CARDONA, THAT

         7    YOU MAY NOT HAVE BEEN A PART OF, MAY NOT CONTROL, BUT I CONSIDER

         8    DEPARTMENT OF JUSTICE, GUESS WHAT?         ONE ENTITY.

11:47    9                SO I HAVE 50 OTHER THINGS TO SAY, BUT I CAN SEE THAT

        10    YOU'RE BREATHING VERY HARD.         SO WHY DON'T YOU TAKE THE LECTERN NOW

        11    AND TELL ME WHAT YOU ARE BREATHING SO HARD ABOUT.

11:48 12                  MR. CARDONA:     I'LL ANSWER THE QUESTION THAT YOU HAVE

        13    POSED.   SO FIRST OFF, YOUR HONOR, THAT FACT HAS BEEN THE SUBJECT

        14    OF A PREVIOUS MOTION THAT WE HAD.         IF YOU REMEMBER, WE HAD THE

        15    DISCOVERY MOTION WHERE THEY SOUGHT DOCUMENTS FROM OTHER GOVERNMENT

        16    INVESTIGATION.

11:48 17                  THE COURT:     BUT THINGS CHANGED.    SEE, THE SCENARIO

        18    CHANGED BECAUSE BEFORE, WHEN I'M MAKING RULINGS, I DIDN'T HAVE THE

        19    ACTUAL SETTLEMENT.

11:48 20                  MR. CARDONA:     YOU ACTUALLY RULED IN THEIR FAVOR.

11:48 21                  THE COURT:     I DID.

11:48 22                  MR. CARDONA:     AND ORDERED US TO PRODUCE THOSE DOCUMENTS.

        23    AND WE, IN FACT, HAVE PRODUCED THOSE DOCUMENTS.

11:48 24                  THE COURT:     TIME OUT.    YOU PRODUCED -- I BELIEVE YOU.     I

        25    BELIEVE YOU.     YOU PRODUCED THOSE DOCUMENTS UP TO A CERTAIN TIME.


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         1    WHAT I'M NOT CERTAIN OF IS I DON'T KNOW IF DOCUMENTS EXIST OR IF

         2    S&P WILL REQUEST THOSE FINAL DISCUSSIONS AND DOCUMENTS THAT MIGHT

         3    BE RELEVANT THAT LED TO $17 BILLION.         NOW, THAT'S A HEALTHY CHUNK

         4    OF CHANGE.

11:48    5                 MR. CARDONA:     WE HAVE BEEN PRODUCING THE DOCUMENTS ON A

         6    ROLLING BASIS.     IN OTHER WORDS, OUR INITIAL PRODUCING WAS THROUGH

         7    MAY 23.    WE RECENTLY PRODUCED A SET OF -- AND I MAY GET THIS

         8    NUMBER WRONG -- BUT I THINK IT WAS THE ON ORDER OF 26 HARD DRIVES

         9    AND 60 DISKS THAT TOOK US THROUGH JULY 9.         AND WE WILL BE DOING AN

        10    UPDATE TO THAT.

11:49 11                   THE COURT:     I DON'T NEED TO LAY AWAKE AT NIGHT WORRYING.

11:49 12                   MR. CARDONA:     I DON'T THINK YOU NEED TO LAY AWAKE AT

        13    NIGHT WORRYING ABOUT THAT.

11:49 14                   THE COURT:     YOU'RE ANTICIPATING ALL OF THE PROBLEMS THAT

        15    I'M ANTICIPATING ALONG THE WAY.

11:49 16                   MR. CARDONA:     NOW, THERE IS A TIME LAG IN THE PRODUCTION

        17    BECAUSE OBVIOUSLY THEY HAVE TO BE PROCESSED.         BUT THAT'S WHERE WE

        18    ARE.

11:49 19                   IN TERMS OF THE DEPOSITIONS, JUST SO THE RECORD IS

        20    CLEAR, THERE WERE TWO ADDITIONAL DEPOSITIONS THAT HAD BEEN TAKEN

        21    THAT WEREN'T ON YOUR LIST.

11:49 22                   THE COURT:     THANK YOU.   REMEMBER, THIS IS AS OF SATURDAY

        23    AND SUNDAY, AND THESE ARE VERBAL CONVERSATIONS.          ONE IS AT

        24    MIDNIGHT AND THE SPECIAL MASTER SEEMED TO BE A LITTLE SLEEPY.            CAN

        25    YOU IMAGINE THAT?


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11:49    1                WHO ELSE?

11:49    2                MR. CARDONA:     THERE WAS A DEPOSITION ON AUGUST 19.

11:49    3                THE COURT:     AUGUST 19.

11:50    4                MR. CARDONA:     THE DEPONENT WAS MARK GOLD, G-O-L-D.         IT

         5    WAS TAKEN IN NEW YORK.       I WAS PRESENT FOR THE GOVERNMENT.        AND I

         6    BELIEVE MR. DAWSON AND MS. YBARRA.          NO.   JUST MR. DAWSON WAS

         7    PRESENT.

11:50    8                THE COURT:     DO YOU KNOW WHO THE SPECIAL MASTER WAS?

11:50    9                MR. CARDONA:     IT WAS MR. O'BRIEN.

11:50 10                  THE COURT:     O'BRIEN.     OKAY.

11:50 11                  MR. CARDONA:     THERE WAS ALSO A DEPOSITION ON AUGUST 27

        12    IN NEW YORK OF MICHAEL MORIARTY.          LAST NAME M-O-R-I-A-R-T-Y.      I

        13    AND MR. NELSON WERE THERE FOR THE GOVERNMENT.           I BELIEVE

        14    MS. WINDLE WAS THERE FOR S&P ALONG WITH MR. MALHOTRA AND I THINK

        15    ONE OTHER PERSON, WHOSE NAME I CAN'T REMEMBER.

11:50 16                  THE COURT:     OKAY.

11:50 17                  MR. CARDONA:     AND THE SPECIAL MASTER WAS MR. O'BRIEN.

11:51 18                  IN TERMS OF GOING FORWARD, WE HAVE ANOTHER DEPOSITION

        19    THAT WE HAVE NOTICED THAT WE'RE TAKING THIS THURSDAY.           AND WE HAVE

        20    ASKED FOR THREE MORE TO BE SCHEDULED FOR EARLY OCTOBER.             WE HAVE

        21    RECEIVED NOTICE OF 14 PENDING DEPOSITIONS FOR THE PERIOD BETWEEN

        22    NOW AND OCTOBER 22.

11:51 23                  THE COURT:     AND THE SPECIAL MASTERS NOW HAVE THOSE?

11:51 24                  MR. KEKER:     I DON'T BELIEVE THEY DO, YOUR HONOR.         THOSE

        25    DATES HAVEN'T BEEN CONFIRMED YET.          SO WE'RE STILL IN DISCUSSION.


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11:51    1                 THE COURT:          REMEMBER, THEY HAVE GOT SCHEDULES ALSO.

         2    THEN LET'S TALK ABOUT EXECUTIVE PRIVILEGE FOR JUST A MOMENT.               A

         3    LOT OF THESE CENTER AROUND THE HEAD OF THE FEDERAL RESERVE FOR

         4    MR. GEITHNER.

         5

         6                      (WHEREUPON THERE WAS A CHANGE IN REPORTERS AND

         7    DEBBIE GALE REPORTED THE VOLUME 3 SESSION.)

         8

         9                      (WHEREUPON THE PROCEEDINGS WERE ADJOURNED AT

        10    11:51.)

        11

        12                                                            -OOO-

        13

        14                                                     CERTIFICATE

        15

        16                 I HEREBY CERTIFY THAT PURSUANT TO SECTION 753, TITLE 28,

        17    UNITED STATES CODE, THE FOREGOING IS A TRUE AND CORRECT TRANSCRIPT

        18    OF THE STENOGRAPHICALLY REPORTED PROCEEDINGS HELD IN THE

        19    ABOVE-ENTITLED MATTER.

        20

        21    DATE:     SEPTEMBER 12, 2014

        22
                    Maria         Digitally signed by Maria Beesley
                                  DN: cn=Maria Beesley, o, ou,
                                  email=amaria1957@yahoo.com,
        23    /S/
                    Beesley       c=US
                                  Date: 2014.09.15 08:36:54 -07'00'
              ______________________________
        24    MARIA BEESLEY, RPR, RMR
              OFFICIAL COURT REPORTER
        25


                          MARIA BEESLEY, OFFICIAL REPORTER, RPR, RMR
